                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-23-00173-CR

STEVEN RAY DOUGLAS, Appellant              §   On Appeal from the 89th District Court

                                           §   of Wichita County (DC89-CR2023-0611)

V.                                         §   August 22, 2024

                                           §   Memorandum Opinion by Justice Walker

THE STATE OF TEXAS                         §   (nfp)

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.

                                      SECOND DISTRICT COURT OF APPEALS


                                       By /s/ Brian Walker
                                          Justice Brian Walker
